                      UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

  Aatrix Software, Inc.,                           SECOND AMENDED COMPLAINT
                                                          AND DEMAND
                                  Plaintiff,             FOR JURY TRIAL
  v.                                                       [PROPOSED]

  Green Shades Software, Inc.                           [INJUNCTIVE RELIEF
                                                             SOUGHT]
                                Defendant.
                                                   Civil Action No. 3:15-cv-00164-HES-
                                                                   MCR

       For its Second Amended Complaint against Defendant Green Shades Software,

Inc., a Florida corporation with its registered address and principal place of business at

7020 AC Skinner Parkway,        Suite 100, Jacksonville, FL 32256 (“Green Shades”),

Plaintiff Aatrix Software, Inc., a North Dakota corporation with its principal place of

business at 2100 Library Circle, Grand Forks, North Dakota 58201 (“Aatrix”) states and

alleges the following:

                                    JURISDICTION

        1.    This Second Amended Complaint is for patent infringement and injunctive

relief against Defendant Green Shades Software, Inc., a Florida corporation with its

principal place of business at 7020 AC Skinner Parkway, Suite 100, Jacksonville, FL

32256. Defendant has advised that the true and correct name of the Defendant is Green

Shades Software, Inc. Defendant sometimes uses the name “Greenshades” (one word)

in the names of its products and in connection with advertising of its products.

        2.    Subject matter jurisdiction is based on 28 U.S.C. §1338.


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            3.   Personal jurisdiction is based upon Federal Rule of Civil Procedure 4(e)

 and Florida Statutes §48.193.

            4.   Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(c) and 1400.

            5.   The products at issue in this lawsuit are the Greenshades Tax Filing

 Center(“TFC”), which is the product name for an installed software product made,

 offered for sale, and sold or licensed by Defendant Green Shades, and the Greenshades

 Payroll Tax Service(“PTS”), which is the product name for software accessed and used

 over the Internet, and which is also made, offered for sale, and sold or licensed by

 Defendant Green Shades. Both products are installed and operated on computer systems

 by Green Shades and others, including partners and customers of Green Shades.

 Defendant Green Shades may also make, use, sell, license, or offer for sale or license

 other products not yet discovered or examined by or on behalf of Plaintiff Aatrix.

            6.   A copy of the accused TFC software product was acquired on behalf of the

 Plaintiff, installed on a computer, examined and analyzed. Defendant Green Shades

 publishes on the Internet numerous videos that purport to show the operation of the TFC

 and PTS software which were also examined.

            7.   Plaintiff Aatrix, through its counsel, wrote Defendant Green Shades and

 requested that Green Shades allow examination and analysis of its software, and an

 agreement permitting such examination and analysis was entered into between the

 parties. Subject to the agreement, counsel for Aatrix caused an examination and analysis

 of the TFC software to be conducted, and determined that probable cause exists to


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 believe that the TFC software infringes US Patent 7,171,615 Patent (the “’615 Patent”)

 owned by Plaintiff Aatrix, a true and correct copy of which is attached hereto as Exhibit

 A.

            8.    Defendant Green Shades, by and through its counsel, also provided a letter

 dated November 17, 2014 (Sealed Ex. S-33 in the Court’s file) and Aatrix understands

 from that letter that the PTS software product contains the same material structures as

 the TFC software, with the difference that some elements of the PTS software product

 are accessible on servers over the Internet, as opposed to being part of an installed

 software package.

            9.    Subsequently, in the course of this litigation, experts working on behalf of

 Plaintiff have examined the source code for the Green Shades TFC and PTS software

 products and have confirmed that probable cause exists to believe that both software

 products infringe both the ‘615 Patent, and US Patent 8,984,393, also owned by Plaintiff

 Aatrix (the “’393 Patent”)(the ‘615 Patent and the ‘393 Patent are referred to collectively

 herein as the “Aatrix Patents”). A copy of the ‘393 Patent is attached hereto as Ex. B.

                    GENERAL BACKGROUND OF THE INVENTION

            10.   Plaintiff Aatrix and Defendant Green Shades are competitors in the

 business of creating and providing computerized forms used to make out and/or file tax

 returns and reports with governmental agencies, and which are also used for other

 purposes such as tax planning and “what if” scenarios.

            11.   The process of creating and updating such forms is complex, exacting,

 error-prone and costly. Using the inventions disclosed in the Aatrix Patents makes the
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 process much less so, and as a consequence, Aatrix has been able to create and currently

 maintains approximately 850 separate forms, comprising 1,752 pages of forms, each of

 which must be updated, provided to the particular governmental entity for approval, and

 edited to each agency’s specific requirements, generally on at least an annual basis.

            12.   The inventors of the patents at issue in this lawsuit, both employees of

 Aatrix, invented machines, systems, computer programming structures, and methods for

 creating, displaying, and importing data into computerized forms, which were and are a

 significant improvement over the numerous prior art and patentably distinct means and

 methods for computerizing forms.

            13.   The term “business accounting software” is used herein to broadly to

 encompass general or task-specific software that businesses use to manage accounting

 information. Embodiments of the patent claims are generally “add-on” software to a

 business accounting software, within a computer system. The add-on software accepts

 values from the business accounting software in a “data file” as that term is used in the

 claims of the Aatrix Patents. It creates an onscreen replica of a published form such as

 the Federal Form 941, containing the values, via a program disclosed in the Aatrix

 Patents as a “form viewer,” which interprets a model of the form that is disclosed in the

 Aatrix Patents as a “form file.” As an example, Microsoft publishes a series of business

 accounting software products under the name “Microsoft Dynamics,” which maintain

 the accounting data of a business. Embodiments of the Aatrix Patents are capable of

 displaying values from Dynamics which are then displayed onscreen in a replica form


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 selected by the user. The Aatrix Patents are not limited to forms to be used with

 business accounting software and systems, but the inventions of the patents were

 developed primarily with business accounting software and systems in mind and the use

 of the term helps describe what was done in developing the inventions.

            14.   Green Shades creates its form files and sells its infringing forms software,

 including a form viewer, for operation on a computer system, and for use with Microsoft

 Dynamics, a family of software products used to manage most accounting data of a

 typical company, and with several other business accounting software products. Green

 Shades also incorporates the products into computer systems and causes others to do so,

 or to electronically access computer systems hosted by Green Shades containing and

 executing the software products, or components thereof.

        EARLY PRECURSORS OF THE AATRIX PATENTED INVENTIONS

            15.   At one time, Aatrix made and sold business accounting software products

 that played a role in the development of the patented inventions. The products were

 Aatrix’s Payroll Series, which generally were software products used by businesses to

 manage payroll.

            16.   For a number of reasons it is preferable that a human not be used to fill out

 tax forms by hand by reading data from a business accounting software. It is slow,

 costly, and error-prone. Customers for Aatrix’s Payroll Series software began asking for

 the ability to simply import values into a tax form displayed onscreen.

            17.   Aatrix began development of the forerunners of its patented technology in

 the early 1990’s. Its Payroll Series software packages, built on and for use with the
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 Macintosh computing system, allowed users to put payroll data into a limited number of

 tax forms which could then be filed with the appropriate governmental agency.

            18.   It is generally understood by those of ordinary skill in the art of software

 programming that there are at least two basic types of code, “source code” and “machine

 code.” Machine code is also referred to as “executable code.” Source code is written

 and can be read and understood by software programmers in a source code language,

 examples being Pascal or C++.           Computers, however, do not use source code in

 executing a software application, they use code only readable by the machine. The

 programmer writes the source code, which is readable by humans (specifically by

 programmers). The source code is then transformed into executable code (not human

 readable), in the format required by the particular computer platform, by a standard tool

 called a compiler. The machine languages for Apple computers such as the Macintosh,

 and Windows-based PCs, are different. In the early days of the development of the

 Aatrix inventions, the work was done on Apple computers such as the Macintosh, and

 the corresponding machine readable code was also compatible with the Macintosh.

 Later versions of the Aatrix patented inventions can be incorporated into other

 computing platforms such as Windows-based PCs.

            19.   The software model that was in wide use at the time, at Aatrix and

 elsewhere, is often referred to as “monolithic software architecture.” This was a way of

 developing software in which the basic components of a user interface, business logic,

 and data management were all contained in a single body of code rather than separated


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 out into components. A vendor of software for personal computers, for example, would

 develop and distribute its products as single executable files of code. This meant (among

 other things) that if the vendor needed to change the functionality of the product in any

 way, it had to ship an entire new executable code file to its customers. In the early 90s,

 it was not practical to ship software over the Internet or other networks, so software was

 most commonly distributed on physical media such as floppy disks or, later, CDs. In a

 monolithic software application the entire software is written as one block of code.

            20.   The precursors of the Aatrix patented inventions were first created circa

 1990-1993. The classic monolithic software applications which prevailed at the time

 had many limitations. All of the components of the software, such as Aatrix’s Payroll

 series software, including the forms, were “hard coded,” meaning that they were written

 into the software’s monolithic source code. Creating forms and revising them when

 necessary meant that software programmers had to be employed to write, modify, and

 debug the code for the entire software, including the part of the source code that

 represented and implemented the forms.

            21.   Governmental agencies publish paper tax forms to be completed and

 remitted to the agency, as a tax return or report. In order to capture the data from all of

 the tax forms a governmental agency receives, the agencies use high speed scanning

 systems which scan all the forms, capture the values in the tax return or report, and put

 those values into the government’s database for analysis. These high speed scanners

 rely on the precise physical layout of the form in order to determine, for example, that a


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 value in a particular place on a tax return or report being scanned is the value for “Total

 Wages, Tips and Salaries.”       The governmental agency’s systems then recognize that

 value and record it for analysis and processing.

            22.   Because their scanners rely on the exact layout of the form, governmental

 agencies require that any computerized forms be exact copies of the paper form the

 agency publishes, and they further require that companies, such as Aatrix, that publish

 computerized forms, must submit the forms for review and approval by the

 governmental agency before deployment. Governmental requirements are so exacting

 that Aatrix is sometimes asked to move a particular character or line on a form by as

 little as a pixel or two. Compounding the problem of computerizing the forms is that

 agencies change most of the forms annually, requiring that the corresponding

 computerized form must be revised. In general, every computerized form corresponding

 to a governmental form needs to be revised a minimum of two times a year and often

 more; once when the form is first completed or revised at the publishing company, and

 again when the agency reviews the form and requires further changes.            When the

 inventions of the Aatrix Patents were being devised, all of that work had to be done by

 software programmers at software programmer compensation rates, and the entire code

 for the business accounting software of which the forms were a part needed to be

 reviewed and debugged.

            23.   Computerizing forms of the type that government agencies publish is not

 simple. Each computerized form can be conceptualized as consisting of three layers.


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 Figure 1 shows an example of this, including examples of the types of information

 represented at each of the three layers.




             Figure 1: A computerized representation of a form in three layers.

            24.   The first (lowest) layer represents the background of the form, including

 the text and graphics. This can be captured by scanning a paper copy of the government

 form or by other capture means as disclosed in the Aatrix Patents, resulting in an image

 that can be displayed on a computer screen and printed. In more recent years, some

 governmental agencies have begun publishing their own digital versions of their paper

 forms. The use of a governmentally issued digital form only saves having to scan the

 form into a digital file, the concept remains the same.
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            25.   The second layer of the computerized representation of the form represents

 the fields that users must fill out, or that the computer can fill out automatically by

 importing values from application software (such as business accounting software), or

 performing calculations on other fields in the form and/or other values. A programmer

 must create representations of these fields which include their physical locations and

 sizes on the form layout. Each field on a form corresponds to a memory location in the

 computer that stores the value of the field. The user interface function of the forms

 program displays these fields at the proper locations and sizes, and either accepts input

 from users or displays values that the software imports and/or calculates itself.

            26.   The third (top) layer comprises the calculations and rule conditions used to

 compute values of fields and check them for validity. For example, one field might have

 a calculated value that is the sum of other fields; another field might be a user-input field

 which must contain a numeric value (e.g., Total Wages, Tips and Salaries) while another

 must contain text (e.g., address of taxpayer). A “rule condition” can be any number of

 conditional statements as described in the patent. An example would be “if there is not a

 numeric value for Total Wages, Tips and Salaries, display ‘NUMERIC VALUE

 REQUIRED’”; another might be “if this value is less than X, apply tax rate Y, otherwise

 apply tax rate Z.”

            27.   In the monolithic programming architecture, revising a form when it was

 changed by the governmental agency meant potentially making modifications

 throughout the source code, not just the code for all of the layers of the form. This


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 included references to memory locations in the business accounting software products,

 positions of form fields, graphical elements of the form designs, and formulas for

 calculating values of certain fields – all of which were “hard-coded” (represented in

 fixed code) in the monolithic software. It was necessary not only to make sure that the

 particular sections of the code for the form were implemented correctly, but that those

 sections of code properly coordinated with the rest of the source code for the monolithic

 business accounting software package. This is depicted in Figure 2.




    Figure 2: Monolithic accounting program with hard-coded references to form
                                     elements.
            28.   Minor changes to the form, such as changing the coordinates of a data field

 to move it from one location to another, were not particularly difficult to implement, but

 major changes, such as would occur if a provision of the tax code were changed and the

 formulas in the form needed to be changed, required significant changes -- not only to

 the source code for the form but also to the source code for the entire business

 accounting software. This was the case because the source code for the business

 accounting software and for the forms was so interdependent and intertwined that if the

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 source code for one changed, the source code for the other would likely also need to

 change in order for the whole system to work as intended. Unintended effects on

 functionality due to such changes are known in the art of software development as

 “regression bugs,” requiring “regression testing” to find and isolate them.

            29.   The need to revisit the entirety of a monolithic body of source code in

 order to change a single form also created the problem of distributing updates to existing

 users of the software. In the early 1990’s broadband Internet did not exist. Most

 communications over the Internet took place over slow dial-up connections, which made

 it impractical (time-consuming and unreliable) to transmit large software files to users.

 Aatrix’s business model at the time was to charge a subscription fee for updates; on a

 periodic basis, at least once a year and sometimes more often, Aatrix mailed out physical

 disks with the current version of its Payroll series software, which included any new

 forms as well as the latest versions of existing forms.

                     DEVELOPMENT OF THE PATENTED INVENTIONS

            30.   Aatrix’s first step in solving the problems present in the prior art circa

 1993 was to develop its Form Designer. Arthur D. Jensen (“Jensen”), one of the

 inventors of the patented inventions, had the insight to break from the monolithic

 architecture by creating a separate program component for designing forms. As a

 preliminary step, Jensen developed a precursor to the Form Designer of the patents as a

 tool to generate source code that implements a particular form, which would then be

 copied into the monolithic software of the Payroll Series. As it functioned at the time,


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 the Form Designer did not write a form file as that term is used in the Aatrix Patents.

 Rather, it would generate a segment of source code for the form so that segment could

 be copied into the monolithic code for the Payroll Series software.

            31.   Jensen eventually developed the Form Designer further so that it would

 generate a separate form file, containing a representation or model of a form, rather than

 generating a piece of source code to be incorporated into the Payroll Series source code.

            32.   This Form Designer is disclosed in the Aatrix Patents; it is a tool for

 automating the tasks needed to create the various layers of a form and to generate the

 form file. The Aatrix Patents make extensive disclosure of the available functionalities

 in the Form Designer, see ‘615 Patent, col. 3, l. 32 – col. 12, l. 24. A user such as a

 Aatrix employee would use the Form Designer to create or edit a form, and then the

 Form Designer would generate a form file which the Payroll Series software would

 interpret and use. In other words, Jensen re-architected the Payroll Series software to

 accommodate the model of the form generated by the Form Designer instead of building

 representations of specific forms directly into the application code. This is depicted in

 Figure 3.




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                       Figure 3: The Form Designer and Form Files.

            33.   The Form Designer and form file offered five distinct and significant

 advantages over Aatrix’s prior method for writing the code for forms. First was

 increased simplicity of code maintenance. Since a form file was used, the digital model

 of each form was separated out from the source code for the business software. This

 meant that if a particular form needed to be revised, it was only necessary to revise that




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 form file. It also eliminated the need to do regression testing (see ¶28 above) of the

 application code when forms had to be changed, generally at least once a year.

            34.   The second advantage was major reductions in the time and level of skill

 required to create and update forms. Instead of requiring people with programming

 skills, experience with tax software, and higher compensation rates, it became possible

 for people with generic computer skills, a rudimentary understanding of accounting

 principles, and lower compensation rates to do forms design and maintenance, and those

 people could do the job an order of magnitude faster.          More fundamentally, this

 invention transformed the Payroll Series from systems that programmers configured to

 fill out forms to systems that enabled non-programmers to do so, and lowered the costs

 and the time involved of doing so. By way of example, the first time the Federal Form

 941 deployed within the monolithic code model had to be revised, the revisions required

 three weeks of a software programmer’s time. Using the inventions of the Aatrix

 Patents, the process now takes a few hours of a non-programmer’s time.

            35.   The third advantage was the small size of form files, combined with the

 decoupling of form models from the monolithic software. This enabled Aatrix to send

 new or updated form files to customers by themselves, instead of distributing entire

 monolithic applications.

            36.   The fourth advantage was that the systems and software could be cross-

 platform, meaning that they could be used on any type of computer platform, including

 without limitation Macintoshes and Windows-based PCs, or on systems with multiple


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 types of platforms. All that was required was to develop a viewer for each platform on

 which it was desired to display a form (see Figure 3).

            37.   Finally, form files made it possible to dramatically increase the number of

 forms that Aatrix could support in its software products. Before the advent of form files,

 Aatrix supported only a small number of forms (the federal Form 941 and a couple of

 state forms), and the monolithic Payroll Series product contained source code for all of

 these; this imposed a severe practical limit on the number of different forms that the

 product could support. With form files, this limit disappeared; the product could support

 many different forms.

            38.   Moreover, users needed to store only the forms that they actually used on

 their computers, which saved storage space both in users’ computers’ RAM (Random

 Access Memory, which is fast, short-term storage used by running programs) and hard

 disk (permanent slower storage used for files and programs when not running). As a

 result, form files made computers processing tax forms more efficient in their use of

 storage space.

            39.   This invention increased the efficiencies of computers processing tax

 forms in other ways. It is often the case that executable computer applications take up

 more RAM than is physically available on the computer, particularly when more than

 one program is running on a computer at a given time. When that happens, computer

 systems have means for treating hard disk storage as a logical extension of RAM, albeit

 one that runs much more slowly. The computer’s operating system loads (from hard


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 disk into RAM) only those portions of a program that it needs at a given time, then

 unloads those (from RAM to hard disk) and loads new portions as they are needed. This

 type of scheme is sometimes known in the art as “page swapping,” or “swapping” for

 short, and it has always been available on the computers for which Aatrix developed its

 software. Swapping makes it possible for large programs to run on computers with

 limited RAM, but it causes them to slow down; in fact excessive swapping leads to a

 condition known in the art as “thrashing,” in which a computer spends the bulk of its

 time and effort on swapping and is unable to keep up with the actions that users actually

 need to be performed. Thus, because the software uses less memory with form files than

 without them, the invention of form files can result in faster operation of tax form

 processing software and less risk of thrashing, thereby making the computers that run

 tax form processing software more efficient.           These effects vary according to the

 hardware configurations of individual computers and systems that run the software.

            40.   Eventually, Aatrix began creating its form files as simple text files that are

 much smaller than source code files (a few kilobytes each, compared to megabytes for

 monolithic executable code and associated files) and can be sent out over relatively slow

 Internet connections. The development of the Form Designer software and the form

 files allowed Aatrix, in a very short period of time, to go from offering the Federal form

 941, to offering forms for all 50 states as well as the Federal forms.

            41.   At Aatrix, the thought developed that if an add-on solution could be

 developed that would work with multiple accounting software products and across


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 multiple computing platforms, Aatrix could market that solution to other accounting

 software makers, to add on to their existing accounting software products. To create

 add-on software, Aatrix developed two further elements of the patented inventions, the

 Form Viewer and the data file.

            42.   The Form Viewer is a software module separate from the business

 accounting software. The Form Viewer software was designed to read and interpret the

 contents of the form file, and then to display an onscreen viewable form. The viewer

 enables the user to edit the field values in an onscreen form, but does not allow the user

 to alter the form itself (that is, the background image, field definitions, or programming

 of calculations and rule conditions are not editable). The Form Viewer is disclosed in

 the Aatrix Patents at, for example, the ‘615 Patent at col. 3, ll.23-31, col. 9, ll. 33-41,

 col. 12, ll. 26-33, and col. 12, l. 63-col. 13, l.63.

            43.   The remaining problem was to devise a way to import data from a user

 application, such as a business accounting software product, so that such data would

 populate fields in the form. It is very difficult to do this without the cooperation of

 vendors of application software; in the field of business accounting software (as in many

 other types of applications), several such vendors competed in the market.

            44.   Jensen found that business accounting software        vendors were not

 generally willing to expose their proprietary data structures to other software vendors

 out of concern that those other vendors might become competitors with detailed

 knowledge of their trade secrets. Reverse engineering their code, in addition to likely


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 violating the terms of those products’ End User License Agreements, would have been

 highly unreliable and may have resulted in the vendors taking steps to make their code

 difficult to reverse engineer (to the extent that it was not already difficult to reverse

 engineer).

            45.   Instead, Aatrix created the data file element of the patented inventions,

 called the Aatrix Universal File or “AUF file.” This is a file template describing what

 values need to be extracted from the business accounting software and where they need

 to appear in the AUF file. The AUF is disclosed, for example, in the ‘615 Patent at Fig.

 1, 3:14-22, 4:57-67, and in detail at 10:59-12:24.

            46.   Business accounting software vendors saw the opportunity to add value to

 their software products by incorporating Aatrix’s tax form processing software, so they

 agreed to implement code that generates data files, which contain the data that Aatrix’s

 software requires for importing into forms, without exposing their trade-secret data

 structures. The other benefit of the data file was that the Aatrix software could read the

 business accounting data in a consistent and straightforward way, across computer

 platforms of different types, without having to develop different interfaces for each of

 the several business accounting software products.

            47.   Aatrix made efforts to find third party software vendors interested in their

 solution, but in the 1995 time frame in which Jensen developed the code, monolithic

 software was the norm, the idea of add-on forms software was before its time, and it was




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 not until the early 2000’s that Aatrix was able to revive the project and secure the

 cooperation from business accounting software vendors described above.


             OTHER PRIOR ART IMPLEMENTATIONS OF FORMS SOFTWARE
                               AND SYSTEMS

            48.   In May 1990 Microsoft released Windows 3.0, its first truly effective

 Graphical User Interface (“GUI”) type operating system for what was then known as the

 “IBM-compatible” PC (as distinct from the Apple Macintosh, among others). Prior to

 that point in time, not only was the operating system not capable enough to display

 forms on a PC, but existing PC hardware was not sufficiently powerful to do so

 effectively. In contrast, Apple’s Macintosh supported a GUI as far back as 1984; yet

 IBM-compatible PCs had become much more prevalent in business settings.

            49.   Following the release of Windows 3.0, a number of software products

 were developed for designing, creating, and displaying forms; these are part of the prior

 art to Aatrix’s patented invention. These products incorporated the ability to populate

 the forms with values, establish calculations, and run rules conditions, and they had

 components that enabled users to view forms on a computer screen, input data, and print

 the resulting completed form or send it by email. These were known in the market as

 “e-forms” (electronic forms) software products.

            50.   These e-forms products also enabled form designers to graphically create

 onscreen forms.       A few of them also had the capability, typically through add-on

 modules or utilities purchased separately, to enable the user to scan in a previously


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 published form to use as a template during the forms design process. One such e-forms

 product was JetForm 1.0, published circa 1990 (“JetForm”). At the completion of the

 design process, JetForm could compile the result into a form file, and a separate

 software component called the Form Filler could then be used to display the form thus

 created and enable users to fill in the form, change pre-populated values, and print or

 email the resulting completed form. Figure 4 is a screenshot of a form during the

 process of being created in JetForm 1.0.




                        Figure 4: Screenshot of JetForm Design 1.0.


            51.   However, these prior art software products had a number of deficiencies

 compared to the Aatrix inventions and lacked elements of the claims of the Aatrix

 Patents. For one thing, although a published form could be used as a template to place
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 data fields or boxes, the published form could not be made a part of the form file; all that

 would appear in the form displayed in the Form Filler was a set of blanks to be filled in,

 without any of the corresponding labels, text instructions, or graphic elements, as shown

 in Figure 5.




  Figure 5: Screenshot of JetForms 1.0 Design without template from printed form.

            52.   A user sitting at a computer seeking to use or to understand the

 information being displayed would need to have a paper copy of the published form in

 hand to reference, to determine which box represented what value. Alternatively, the

 forms designer would have to use graphical tools to create an ad-hoc on-screen

 emulation of the print form, and it is unclear whether the graphical tools supplied with

 these prior art software products had the flexibility, precision, or capabilities necessary

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 to enable the creation of forms that emulated the print versions accurately enough to be

 acceptable to government agencies. There is no evidence that e-forms software products

 were designed or used for this purpose.

            53.   Yet another deficiency and difference from the claims of the Aatrix

 Patents was that the prior art software products could extract and import data from

 databases, but not from a “user application” as that term is used in the Aatrix Patents,

 nor did they use a “data file” as that term appears in the Aatrix Patents.          These

 differences were significant. E-forms products would typically enable a form designer

 to define a field whose value is the result of a query on a database. They would support

 queries on a range of database products that were in popular use at the time (e.g., dBase,

 FoxPro, Clipper), most of which defined their own syntaxes for queries. This would be

 convenient for integrating forms with a person’s or company’s own databases, but it

 would be insufficient for integration with third-party application software (such as

 business accounting software).     As mentioned above, application software has data

 structures which may or may not use commonly available database systems and which

 are generally trade secrets of the application software vendor. Vendors are unwilling to

 reveal the “guts” of their application designs. Jensen developed the data file as, among

 other things, a way to allow integration of add-on e-forms software by “pushing” data

 into data files so that the forms software can use it to populate forms. Thus, prior-art e-

 forms software products did not practice “data files” as taught in the Aatrix patents,




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 because they were not designed to be integrated with third-party applications software

 products, as the Aatrix products were.

             EXAMINATION AND ISSUANCE OF THE AATRIX PATENTS

            54.   As is well known, to obtain a patent an inventor must file an application

 with the United States Patent and Trademark Office (“USPTO”), and in that application

 must disclose what the inventor invented in sufficient detail such that one skilled in the

 art can make and/or use the invention.

            55.   Examiners at the USPTO review patent applications to determine whether

 a claimed invention should be granted a patent. In general, the most important task of a

 patent examiner is to review the technical information disclosed in a patent application

 and to compare it to the state of the art. This involves reading and understanding a patent

 application, and then searching the prior art to determine what technological

 contribution the application teaches the public. A patent is a reward for informing the

 public about specific technical details of a new invention.        The work of a patent

 examiner includes searching prior patents, scientific literature databases, and other

 resources for prior art. Then, an examiner reviews the claims of the patent application

 substantively to determine whether each complies with the legal requirements for

 granting of a patent. A claimed invention must meet patentability requirements including

 statutory subject matter, novelty, inventive step or non-obviousness, industrial

 application (or utility) and sufficiency of disclosure and examiners must apply federal




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 laws (Title 35 of the United States Code), rules, judicial precedents, and guidance from

 agency administrators.

            56.      To have signatory authority (either partial or full), Examiners must pass a

 test equivalent to the Patent Bar.            All examiners must have a college degree in

 engineering or science. Examiners are assigned to “Art Units,” typically groups of 8-15

 Examiners in the same area of technology. Thus, by way of required background and

 work experience, Examiners have special knowledge and skill concerning the

 technologies examined by them and in their particular Art Unit.

            57.      The basic steps of the examination consist of:

        •         reviewing patent applications to determine if they comply with basic format,
                  rules and legal requirements;
        •         determining the scope of the invention claimed by the inventor;
        •         searching for relevant technologies to compare similar prior inventions with
                  the invention claimed in the patent application; and
        •         communicating findings as to the patentability of an applicant's invention via
                  a written action to inventors/patent practitioners.

            58.      Communication of findings as to patentability are done by way of one or

 more Office Actions in which the Examiner accepts or rejects proposed claims filed by

 the applicant(s) and provides reasons for rejections. The applicant(s) are then permitted

 to file a Response to Office Action, in which claims may be amended to address issues

 raised by the Examiner, or the applicant states reasons why the Examiner’s findings are

 incorrect. If an applicant disagrees with a Final Rejection by an Examiner, the applicant

 may file an appeal with the Patent Trial and Appeal Board (“PTAB”). If, after this




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 process, the USTPO determines that the application meets all requirements, a patent is

 duly allowed, and after an issue fee is paid, the patent is issued.

            59.    A patent duly allowed and issued by the USTPO is presumptively valid

 and becomes the property of the inventor(s) or assignee(s).

            60.    A “Continuation Application” is one where, typically after allowance but

 in any event prior to issuance, the inventor applies for a second, related patent. A

 Continuation employs the same invention disclosure as the previous, allowed

 application, but seeks new or different claims. A patent issued on a Continuation

 Application receives the priority date of the previously allowed patent, but the applicant

 must disclaim any patent life beyond that of the first allowed patent to which the

 Continuation seeks priority. The ‘393 Patent is a Continuation of the ‘615 Patent.

            61.    A    “Continuation-in-Part”    application   (“CIP)”   is   similar   to   a

 “Continuation,” except that the applicant amends the invention disclosure to include new

 or different material. As to the original material that was in the first allowed patent, the

 CIP has the same priority date as the first allowed patent, but as to the new or different

 material, that material is subject to a priority date determined by the date of filing of the

 CIP. As with the Continuation Application, the patentee(s) must disclaim an extended

 life for the patent.

                  EXAMINATION AND ISSUANCE OF THE ‘615 PATENT

            62.    The examination, or “prosecution,” of the ‘615 Patent required five years,

 from the date of filing of the application on March 26, 2002, through the issue date of


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 January 30, 2007. A true and correct copy of the examination file (referred to as a “file

 wrapper”) of the USPTO for the ‘615 Patent is attached hereto as Exhibit C. The

 complete search history of the ‘615 Patent is contained in Exhibit C (the face of the

 patent, Ex. A, states “See application file for complete search history.”). Some of the

 materials at the beginning of Ex. C are materials from Reed Tech, which obtained the

 file wrapper for Plaintiff. The Reed Tech materials are incorporated in Ex. C because

 they include a table of contents that may help locate materials in the file wrapper. The

 Reed Tech materials are not from the USPTO but they are marked "Reed Tech" and are

 obvious.

            63.   There were three Examiners involved in examining the application for the

 ‘615 Patent, Assistant Examiner Quoc A. Tran (“Examiner Tran”), Primary Examiner

 William Bashore (“Examiner Bashore”), and Primary Examiner Sanjiv Shah (“Examiner

 Shah”).

            64.   As evidenced by the file wrapper for the ‘615 Patent, a search was

 conducted for patents linguistically connected to the application on October 25, 2004,

 which returned 300 issued patents.

            65.   On March 14, 2005, the USPTO performed 19 line item Boolean searches

 for prior art, including such terms as “turbo tax” (the tradename of a tax software and

 forms product published by Intuit), and “adobe,” the publisher of products such as

 Adobe Acrobat, including many forms functionalities. The USPTO received 757 “hits”




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 on these line items. (The line item count and “hit” count in this paragraph does not

 include one apparently erroneous search on “a” which returned millions of items.)

            66.   On March 15, 2005, the USPTO performed 36 line item Boolean searches

 for prior art, including such terms as “quicken” (the tradename of another Intuit product

 that included forms), several specific patents or applications, and search terms such as

 “form near4 filling,” and “tax near4 return.” These searches returned over 98,000

 “hits.”

            67.   On March 15, 2005, the USTPO performed an additional 11 line item

 Boolean searches on terms such as “turbo near4 tax,” “intuit.as,” and others, which

 returned over 300,000 “hits.”

            68.   On March 25, 2005, Examiner Tran mailed a First Office Action, a copy of

 which is included in Ex. C. Among other things in the Office Action, it stated:

        35 U.S.C. 101 reads as follows:

        Whoever invents or discovers any new and useful process, machine,
        manufacture, or composition of matter, or any new and useful improvement
        thereof, may obtain a patent therefor, subject to the conditions and
        requirements of this title. [Bold in original.]

        Claims 11 and 22-23 are rejected under 35 U.S.C. 101 because the claimed
        invention is directed to non-statutory subject matter. Claims 11 and 22-23 set
        forth non-functional descriptive material but fail to set forth physical structures or
        materials comprising hardware or a combination of hardware and software within
        the technological arts (i.e. a computer) to produce a “useful, concrete and
        tangible” result. For example, Claims 11 and 22-23 the “method” reads on a
        mental construct/abstract idea or at best a computer program, per se. The
        language such as “A method for designing, creating, and importing
        data…comprising…, does not clearly define structural elements and are not
        tangibly embodied on a computer readable medium. Claims 11, and 22-23 are


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         interpreted as software per se, abstract ideas or mental construct and not tangibly
         embodied on a computer readable medium or hardware.

            69.   In response to the First Office Action, Claims 11 and 22 as they appeared

 in the application were amended to include specific hardware elements and 23 was

 cancelled. The amendment is part of Ex. C and speaks for itself.

            70.   The Examiners made no rejection of Claim 1 of the application for the

 ‘615 Patent (which became Claim 1 of the issued patent). Given that the claims were

 specifically examined for “tangible embodiment” and to insure that what was claimed

 was not merely “software per se,” it is plain that the Examiner considered Claim 1 as

 submitted to contain “tangible embodiment” (i.e. hardware) and not to constitute

 “software per se,” and that has also been the applicants’ understanding of Claim 1 at all

 material times. Claim 1 was subsequently amended, but not to add any further hardware

 elements, hardware already being present in the claim. The inventors, and persons

 skilled in the art, understand the term “data processing system” in Claim 1 (and

 incorporated in dependent claims 2-10), as well as in other claims of the Aatrix Patents,

 to include hardware, such as computers, readable memory, and peripheral equipment.

 As reflected in the file wrapper, Examiner Tran and Examiner Shah examined the claims

 for subject matter eligibility, and made no rejection of claims containing the term “data

 processing system” on the ground that they did not claim a “machine” and therefore

 were not directed to statutory subject matter.

            71.   The First Office Action was reviewed and signed by Examiner Sanjiv

 Shah.

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            72.   Following the First Office Action and applicants’ Response thereto, the

 USPTO performed hundreds of additional line item searches returning “hits” on several

 tens of thousands of additional prior art references.

            73.   During the prosecution of the ‘615 Patent, the Examiners made

 obviousness-type rejections to the claims, based on combinations of several pieces of

 prior art, all for machines or methods, or parts of machines or methods, for creating,

 designing and importing data into forms, including tax forms. On information and

 belief, it is the practice of the USPTO not to cite excessive cumulative art, in other

 words, in this instance, the art cited is representative of considerable other art located by

 the USPTO and not cited. Further on information and belief, it is the practice of the

 USPTO to discuss in its Office Actions those pieces of art that best represent the cited

 art. On the face of the ‘615 patent itself the USPTO listed several patents reviewed in

 the examination of the ‘615 Patent that constitute pieces of art in the field of creating,

 designing and importing data into forms, including without limitation tax forms, which

 are listed in Table 1. Copies of the patents and published applications are attached to

 this Second Amended Complaint as Exhibits with the letter as noted in the table:


Pat. or App.       Inventor                              Title                          Exh.
     No.
 5,140,650          Casey     Computer-Implemented Method for Automatic                   D
                              Extraction of Data from Printed Forms
  5,495,565         Millard   Integrated Form Document Editor with Form                   E
                              Descriptor Table, Background Bitmap, Graphics
                              Editor and Test Editor, Composite Image Generator
                              and Intelligent Autofill


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  6,446,048          Wells     Web-Based Entry of Financial Transaction                      F
                               Information and Subsequent Download of Such
                               Information
 02/0111888         Stanley    Automated Tax Return with Universal Data Import               G

 02/0154334         Laverty    PostScript to PDF Conversion of Graphic Image Files           H

 03/0120516        Perednia    Interactive Record-Keeping System and Method                  I

 03/0233296        Wagner      System and Method for Automated Form Generation               J
                               and Comparison
      n/a                      http://web.archive.org/web/19980117145007/www.int         n/a
                               uit.com/turbotax/-publishing 1998
      n/a           Padova     “Acrobat PDF Bible” Published 1999 by IDF Books           n/a

Table 1: References listed as prior art in the '615 Patent.

            74.   In addition, the prior art references cited by the USPTO during the

 prosecution of the ‘615 Patent themselves cited a total of 32 additional references in the

 field.

            75.   On September 19, 2006, Examiner Bashore issued a Notice of Allowance

 (included in Ex. C) for the ‘615 Patent. In the Notice of Allowance, Examiner Bashore

 gave the following Reasons for Allowance, inter alia:

          Examiner finds the claimed invention [in the ‘615 Patent] is patentably distinct
          from the prior art of record. [Emphasis added.]

            76.   The art cited by the USTPO in the examination of the ‘615 Patent

 represents, as stated by Examiner Bashore, patentably distinct art from the ‘615 Patent,

 and thus sets forth other machines, structures, and processes to which the ‘615 Patent is

 not directed, for creating, designing and importing data into forms, including without

 limitation tax forms.

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                  EXAMINATION AND ISSUANCE OF THE ‘393 PATENT

            77.    On or about January 26, 2007, the inventors filed with the USTPO a

 Continuation Application that was then examined by the USPTO and ultimately issued

 as the ‘393 Patent. A true and correct copy of the file wrapper is attached hereto as Ex.

 K. Some of the materials at the beginning of Ex. K are materials from Reed Tech,

 which obtained the file wrapper for Plaintiff. The Reed Tech materials are incorporated

 in Ex. K because they include a table of contents that may help locate materials in the

 file wrapper. The Reed Tech materials are not from the USPTO but they are marked

 “Reed Tech” and are obvious.

            78.    Examiner Quoc A. Tran (“Examiner Tran”) examined the Continuation

 Application under the supervision of Supervisory Patent Examiner Doug Hutton

 (“Examiner Hutton”).

            79.    As evidenced by the file wrapper for the ‘393 Patent, several hundred line

 item searches for prior art were conducted resulting in several thousand “hits.”

            80.    On or about March 4, 2010, Examiner Tran, under the supervision of

 Examiner Hutton, mailed a First Office Action, a copy of which is included in Ex. K.

 Among other things in the Office Action, it stated:

        35 U.S.C. 101 reads as follows:

        Whoever invents or discovers any new and useful process, machine,
        manufacture, or composition of matter, or any new and useful improvement
        thereof, may obtain a patent therefor, subject to the conditions and
        requirements of this title. [Bold in original.]



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        Claim 18 is rejected under 35 U.S.C. 101 because the claimed invention is directed
        to non-statutory subject matter.

        Claim 18:
               Claim 18 recites “An article of manufacture” comprising “a propagated
        signal”. As such claim 18 is drawn to a form of energy.

               Energy is not a process, a machine, a manufacture or a composition of
        matter. Accordingly, Claim 18 fails to recite statutory subject matter, as defined in
        35 U.S.C. 101. [Bold in original.]

            81.   Examiner Tran made no other rejection of any Claim in the application for

 non-statutory subject matter during the prosecution. Plaintiff is therefore informed and

 believes that Examiner Tran understood all of the other claims of the ‘393 Patent to

 include statutory subject matter.

            82.   In the First and subsequent Office Actions, Examiner Tran made a series

 of rejections of the claims applied for on grounds of anticipation and obviousness, citing

 a number of pieces of prior art.       In response, in an authorized process known as

 “swearing behind,” the inventors filed a succession of Declarations culminating in the

 Sixth Declaration of Steven H.N. Lunseth and the Fourth Declaration of A. Dale Jensen,

 dating the reduction to practice of subject matter of the ‘393 Patent to at least November

 28, 1995.        These Declarations are all included in Ex. K hereto, along with the

 voluminous exhibits to the Declarations comprising source code.

            83.   On or about June 9, 2014, while the examination and prosecution of the

 ‘393 were still pending before the USPTO, the United States Supreme Court issued its

 opinion in Alice Corporation Pty. Ltd. v. CLS Bank International, 134 S. Ct. 2347. On

 December 16, 2014 the USPTO published in the Federal Register, its Interim Guidance

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 on Patent Subject Matter Eligibility (“Interim Eligibility Guidance”) expressly for use by

 USPTO personnel in determining subject matter eligibility under 35 U.S.C. 101 in light

 of recent US Supreme Court cases, specifically including Alice. A copy of the published

 Interim Eligibility Guidance is attached hereto as Ex. L. The December 2014 Interim

 Eligibility Guidance was preceded by a number of other guidances, as stated in the

 publication of the Interim Eligibility Guidance. On information and belief, all personnel

 in the USPTO, including Examiners Tran and Hutton, were well aware of Alice, the US

 Supreme Court cases that preceded Alice, and of the Interim Eligibility Guidance and

 preceding guidances.

            84.   On or about January 7, subsequent to Alice and the Interim Eligibility

 Guidance, an interview was held by prosecution counsel with Examiner Tran. On or

 about January 15, 2015 a Notice of Allowance was issued for the ‘393 Patent.

            85.   The prosecution of the ‘393 Patent extended for 8 years, during which the

 USPTO performed hundreds of prior art searches, resulting in tens of thousands of

 “hits,” and reviewed scores of pieces of prior art. Examiner Tran well understood the

 field of art of the application for the ‘393 Patent, and other patents, publications and

 methods of creating, designing and importing data into forms,           including without

 limitation tax forms. Examiner Tran and the USPTO well understood the claims of the

 ‘393 Patent and the meaning of its terms, as evidenced in the extensive number of Office

 Actions and Responses in the file wrapper.




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            86.   During the prosecution of the ‘393 Patent, Examiner Tran made

 obviousness-type rejections to the claims, based on combinations of several pieces of

 prior art, all for machines or methods, or parts of machines or methods, for creating,

 designing and importing data into forms, including tax forms. On information and

 belief, it is the practice of the USPTO not to cite excessive cumulative art, in other

 words, the art cited is representative of considerable other art located by the USPTO and

 not cited. Further on information and belief, it is the practice of the USPTO to discuss in

 its Office Actions those pieces of art that best represent the cited art. The art cited by the

 USPTO included several pieces of art in the field of creating, designing and importing

 data into forms, including without limitation tax forms. The references cited by the

 USPTO during the prosecution of the ‘393 Patent are listed in the following table.

 Copies of the patents and published applications are attached to this Second Amended

 Complaint as Exhibits with the letter as noted in Table 2:

Pat. or App.      Invent                               Title                              Exh.
     No.            or
 5,140,650        Casey  Computer-Implemented Method for Automatic Extraction               D
                         of Data from Printed Forms
 5,832,100        Lawton Method and Apparatus for Converting Documents                      M
                         Between Paper Medium and Electronic Media Using a
                         User Profile
 6,043,819        LeBrun Image Based Document Processing and Information                    N
                         Management System and Apparatus
 6,199,079        Gupta Method and System for Automatically Filling Form in an              O
                         Integrated Network Based on Transaction Environment
 6,182,142         Win   Distributed Access Management of Information Resources             P

Table 2: References listed as prior art in the '393 Patent.


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            87.   In addition, the prior art references cited by the USPTO during the

 prosecution of the '393 Patent, themselves cited scores of additional references in the

 field.

            88.   Examiner Tran and the USPTO expressly examined the application for the

 ‘393 Patent for subject matter eligibility and made one subject matter rejection at the

 start of the examination. On information and belief, Examiner Tran and the USPTO

 were well aware of the decisions of the US Supreme Court concerning subject matter

 eligibility in Alice and preceding cases. Examiner Tran and the USPTO made no

 rejection of any of the claims of the ‘393 Patent for subject matter eligibility, and on

 information and belief did not regard the subject matter of the claims as directed to any

 abstract idea or ineligible subject matter.

            EXAMINATION OF THE RELATED CONTINUATION-IN-PART
                        APPLICATION NO. 11/699,955

            89.   As previously stated herein, after allowance of an application and before

 issuance of the patent, inventors may make and file an application for a continuation or a

 continuation-in-part. The invention disclosure portion of a continuation-in-part may be

 amended to include new material, but otherwise a CIP shares the same invention

 disclosure as the previously issued patent(s). The inventors filed a CIP on or about

 January 29, 2007, which is application serial no. 11/699,955 (the “’955 Application”).

            90.   The CIP is still pending and has not issued as a patent nor yet been

 allowed, and therefore the entirety of the file wrapper has not been attached hereto as an

 Exhibit. However, parts of it are attached as noted herein. The ‘955 Application is a

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 published application and the entire file wrapper can be obtained and reviewed on the

 USPTO’s “Public Pair” site at http://portal.uspto.gov/pair/PublicPair .

            91.   The CIP is being examined by Examiner Mustafa A. Amin (“Examiner

 Amin”).

            92.   On June 5, 2015, Examiner Amin issued an Office Action in the

 examination of the ‘955 Application, the pertinent parts of which (pp. 1-5) are attached

 hereto as Ex. Q (the remainder is available at the Public Pair site).

            93.   Neither the June 5, 2015 Office Action nor any other prior office action in

 the examination of the ‘955 Application have rejected any of the claims of the

 application as being directed to an abstract idea. On information and belief, Examiner

 Amin, being experienced in the field of art of the ‘955 Application, and being aware of

 the Interim Eligibility Guidance and of Alice, has not considered the subject matter of

 the ‘955 Application to be directed to an abstract idea.

            94.   In the June 5, 2015 Office Action, Examiner Amin made the following

 rejection under 35 U.S.C. 101:

        Claim 1 is rejected under 35 U.S.C. 101 because the claimed invention is directed
        to non-statutory subject matter.

        Claim 1:

        In summary, claim 1 recites “a data processing[sic], on a digital computer having
        memory and processor…the data processing system comprising; a form file, a
        form file creation program, a data file, a viewer program”. The “data processing”
        [sic] is “on” a “digital computer”, where the “digital computer” is not necessarily
        part of the “data processing system”. Additionally, other recited components are
        software per se. Claim 1 fails recited [sic] at least one hardware component that is
        necessarily part of the “data processing system”.

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         Thus, the recited “ data processing system” is not a “process”, a “machine”, a
         “manufacture”, or “composition of matter”, as defined in 35 U.S.C. 101.

         At least due to dependency, claims 2-16 are rejected under the same rational [sic]
         as set forth above. [Emphasis in original.]

            95.   Applicant responded to the Office Action of June 5, 2015 with an

 Amendment and Response to Office Action and Request for Interview on December 3,

 2015.       The pertinent parts of the Response are attached hereto as Ex. R, and the

 remainder is available on the Public Pair site. Applicant provided the Examiner with

 decisions from the Patent Trial and Appeal Board (PTAB) in Ex Parte Michael Muller

 and Meggan H. Todd, 2015 WL 1387574 (Patent Tr. & App. Bd., March 25, 2015) and

 Ex Parte Jeffrey T. Calow, et.al., 2015 WL 1325268, (Patent Tr. & App. Bd., March 23,

 2015), both interpreting the term “data processing system” to include a processor and

 hardware. See Ex. O, pp. 20-21.

            96.   Further, applicant provided Examiner Amin with a definition from the

 IBM Dictionary of Computing (Tenth Ed. August 1993), a dictionary published when

 the invention of the Aatrix Patents and the ‘955 Application were being developed,

 defining “data processing system” as:

         One or more computers, peripheral equipment, and software that perform data
         processing. Synonymous with computer system, computing system. See also
         computer, computer system, information processing system. [Emphasis added.]

See Ex. R, p. 21 and the attachment to the Response from the IBM Dictionary of

Computing.



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            97.    On March 8, 2016 Examiner Amin issued a Non-Final Rejection of claims

 of the ‘955 Application, a copy of pertinent parts of which is attached hereto as Ex. S.

 At the page numbered 2 (the third page of the document), Examiner Amin states:


        In light of applicant’s amendments/remarks, all rejections to the claims under 35
        U.S.C. 101 previously set forth are withdrawn.

Applicant made no amendments with respect to the “data processing system” language of

Claims.

            98.    Examiner Amin, thus, removed his rejection under 101 based on his

 understanding that language included hardware, viz. at least one computer.

            99.    Claims of both the Aatrix Patents, and claims of the ‘955 Application

 contain the term “data processing system,” which is to be consistently interpreted as

 having the same meaning in the same family of patents.

      OTHER METHODS OF DISPLAYING FORMS ON A COMPUTER NOT
          COVERED BY THE CLAIMS OF THE AATRIX PATENTS

            100.   Many means and methods exist for displaying forms on a computer not

 covered by the claims of the Aatrix Patents.

            101.   The art cited by the Examiners in the examination of the ‘615 and ‘393

 Patents all represent patentably distinct and in some instances prior art means and

 methods for designing, creating, displaying and importing data into forms, from those of

 the Aatrix Patents.




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            102.   Software sold prior to the reduction to practice of the invention of the

 Aatrix Patents, such as JetForm 1.0 and others, represent patentably distinct means and

 methods from the Aatrix Patents.

            103.   Further, a number of companies make and sell blank forms that can be

 displayed on a computer screen and filled in by the user, by hand typing in the values.

 The Aatrix Patents are not directed to this method. As an example, Bloomberg/BNA

 publishes numerous forms under the tradename Superforms, which uses this model.

            104.   Plaintiff believes that there are various ways to provide add-on software

 without infringing the Aatrix patents. As an example, software developers such as

 Microsoft, which makes and sells the Microsoft Dynamics line of products, distribute

 Software Development Kits (“SDK’s”) that are distributed to third party software

 developers.       These permit the writing of add-on software that works with specific

 functions and data structures of the primary software application. SDKs specify to third-

 party inventors how to write code and system calls to make the add-on work with the

 primary software. One way of avoiding infringement would be to write an add-on forms

 software as it was done under the prior art, where all of the software including the forms

 is written as a piece of monolithic source code, and compiled into a monolithic

 executable application. Other examples are demonstrated in the patentably distinct art

 set forth in the prosecution of the Aatrix patents, and in the patentably distinct prior art

 commercial software such as JetForm 1.0.




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 IMPROVEMENTS AND PROBLEMS SOLVED BY THE AATRIX PATENTED
                       INVENTIONS

            105.   The inventions of the Aatrix Patents are improvements over prior art and

 subsequent patentably distinct means and methods of creating, designing, and importing

 data into forms, and the Aatrix Patents enable a combination of features not present in

 such prior art and other means and methods.

            106.   The inventions of the Aatrix Patents improve the process of creating

 computerized forms and forms software. It is not necessary to hire programmers to

 create, edit, update and maintain forms. The person doing such work, known to those

 skilled in the art as a form designer, need not be a programmer. Typically, in hiring

 form designers, Aatrix looks for persons with general PC experience and a rudimentary

 understanding of accounting principles. Such employees’ rates of compensation are

 well below those of programmers. Thus, the inventions also transformed computers

 running forms applications from those that require programmers to configure them to

 those that do not.

            107.   The inventions of the Aatrix Patents improve the functioning of the data

 processing systems, computers, and other hardware that are incorporated in the claims in

 ways including but not limited to those described in ¶¶38-39 above.

            108.   The inventions claimed in the Aatrix Patents enable systems that are

 capable of producing exact on-screen copies of published forms, although the inventions

 are not limited to creating exact copies. The ability to make an exact copy is highly

 desirable particularly where governmental agencies that publish forms will not allow

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 electronic forms that are not created on exact copies, nor will they accept returns or

 reports that are not exact copies. Some prior art solutions such as JetForm 1.0 displayed

 a viewable form. However, the form was a set of blanks without the background of the

 original form, so the user was left to his or her own devices to understand what the

 values in the viewable form represented, unless the forms designer was able to create an

 ad hoc replica of the original form using the prior art solution’s form design capabilities.

 Some prior art would allow a user to put a blank published form in a printer and print

 out the values onto that form. However, the user was left to his or her own devices with

 respect to formatting the output so that values were printed in the box or blank where

 they belonged, in a type size conforming to the box or blank.

            109.   The inventions claimed in the Aatrix Patents allow data to be imported into

 the viewable electronic form from outside applications.           Prior art forms solutions

 allowed data to be extracted only from widely available databases with published

 database schemas, not the proprietary data structures of application software.           The

 inventions of the Aatrix Patents allowed data to be imported from an end user

 application without needing to know proprietary database schemas and without having

 to custom program the form files to work with each outside application. The inventions

 of the Aatrix Patents permit data to be retrieved from a user application and inserted into

 a form, eliminating the need for hand typing in the values and eliminating the risk of

 transcription error.




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            110.   Another principal object and advantage of the invention claimed in the

 Aatrix Patents is that it performs calculations on the imported data and allows the user to

 review and change the data and create viewable forms and reports.

            111.   Another object and advantage of the present invention is that it allows the

 creation of an electronically fileable form from the viewable form, based on a template.

            112.   Another object and advantage of the present invention is that it allows the

 electronically fileable form to be electronically filed in a variety of formats.

            113.   Another object and advantage of the present invention is that it allows the

 deployment of components of the software across multiple, electronically connected

 computers, devices, or systems, and is usable cross-platform, that is, regardless of

 whether the connected computers, devices or systems are a Macintosh, a Windows-

 based PC, or some other computer type.

            114.   Another object and advantage of the present invention is that it allows the

 distribution of updated form files and data files, via electronic communication such as

 the Internet, separate from the distribution of updated software that uses those files and

 without requiring distribution of physical media.

            115.   The inventions of the Aatrix Patents, and the claims of the Patents,

 represent new, novel and useful improvements over the existing and/or patentably

 distinct means and methods.

            116.   The Aatrix Patents, having been duly examined, allowed, and issued, for

 which Aatrix paid substantial fees to the USPTO, represent property rights of Aatrix,


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 and Defendant has, as herein set forth, infringed those rights. Aatrix estimates that the

 research and development cost of bringing the inventions to the point of reduction to

 practice in or about 1995 was $500,000, and the research and development cost of

 creating the end product that it was able to bring to market was an additional $2-3

 million.

                                           COUNT I

                       INFRINGEMENT OF U.S. PATENT 7,171,615

            117.   Paragraphs 1-116 hereof are incorporated herein by reference.

            118.   On January 30, 2007, United States Letters Patent No. 7,171,615 was duly

 and legally issued to Arthur D. Jensen and Steven H.N. Lunseth for a Method and

 Apparatus for Creating and Filing Forms (the “`615 Patent”). The ‘615 patent was

 assigned to Plaintiff Aatrix as reflected on the face of the patent and in the records of the

 United States Patent and Trademark Office (“USPTO”), and Plaintiff Aatrix has owned

 the ‘615 Patent throughout the period of the defendant’s infringing acts and still owns

 the patent by assignment. A copy of the ‘615 Patent is attached as Exhibit A.

            119.   Defendant Green Shades has infringed and is still infringing the ‘615

 Patent by making, selling, and using methods and apparatuses that embody the patented

 invention, and Defendant Green Shades will continue to do so unless enjoined by this

 court.

            120.   Defendant Green Shades makes, uses, sells and offers to sell two different

 software product packages and operates the products and components of the products on

 computers and data processing systems in infringement of the patent, as previously
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 alleged herein. They are called the TFC and the PTS. In about March 2015, Defendant

 attempted to create and implemented a redesign of both software products. Defendant

 loads the software on at least one computer and operates it. Plaintiff has, through

 experts, examined the source code for both the TFC and the PTS, and for the redesigned

 software for both products as well as prior versions of the TFC and PTS.                The

 inspection, analysis and review of the software products has been pursuant to a process

 which has been both Confidential by agreement of the parties, and Confidential by virtue

 of this Court’s Protective Order (Dkts. 15-17) previously entered in this case. Plaintiff is

 able to state in detail the structures and methods of Defendant’s products that cause the

 Aatrix Patents to both be infringed, but Plaintiff is barred from setting those forth in this

 Second Amended Complaint in such detail by virtue of confidentiality restrictions.

 Plaintiff is able to do so within a reasonable period of time after filing of this Second

 Amended Complaint, in such confidential manner as is Ordered by the Court.

            121.   Plaintiff Aatrix has complied with the statutory requirement of placing a

 notice of the ‘615 Patent on the products it manufactures and sells by placing such

 notice on Aatrix’s website, through which Aatrix’s software products are obtained by

 purchasers. Plaintiff Aatrix has notified Defendant Green Shades of its patent, and its

 concerns that Defendant Green Shades has and continues to infringe the ‘615 Patent.

            122.   The Green Shades products that infringe the ‘615 Patent are the TFC and

 the PTS, which are made, used, offered for sale and sold by Green Shades, or made

 available by Green Shades for licensed use over the Internet. It is the understanding of


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 Plaintiff Aatrix that the difference between the TFC and the PTS is that the TFC is an

 installed software package, while the PTS is software as a web service, hosted on servers

 and accessed by a user over the Internet.

            123.   Plaintiff alleges that the PTS and TFC products and services of Defendant

 Green Shades directly infringe the ‘615 Patent. Alternatively, Plaintiff alleges that

 Defendant conditions participation in the use of its products and the receipt of the

 benefits upon allowing Defendant’s products to create a data file on a customer’s data

 processing system, or to deliver a data file to the customer’s system, or for the customer

 to follow the instructions, directions or suggestions of Defendant for the creation of a

 data file, and to operate on a data file and a form file supplied by Defendant, using a

 form viewer program or programs supplied by the Defendant. Defendant establishes the

 manner or timing of that performance. Defendant Green Shades is liable for its direct

 infringement of the ‘615 Patent, or alternatively, vicariously liable for infringement by

 virtue of operations it causes or directs or suggests to be conducted on a customer’s data

 processing system to its profit, which it has the ability to stop or prevent.

            124.   Defendant infringes the ‘615 Patent under the Doctrine of Equivalents.

 Among other things, Plaintiff understands Defendant to contend that certain limitations

 of claims of the Aatrix Patents, such as the form file limitation, are limited to a single

 file when one skilled in the art would know that the functions can be divided into two or

 more files that are equivalents of a single file.




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            125.   On information and belief, Defendant Green Shades has known of the ‘615

 Patent since its date of issue and has knowingly and willfully infringed the ‘615 Patent

 in willful disregard of the patent rights held by Plaintiff Aatrix.

            126.   The claims of the ‘615 Patent that are known by Plaintiff to infringe the

 Patent based on Plaintiff’s examination of the PTS (both the pre- and post-March 2015

 versions) are Claims 1, 5, 22, 23, 28-34, and 36-39. Plaintiff alleges on information and

 belief that Claims 2-4, 6-10, 24-27, and 35 are also infringed by the PTS.

            127.   The claims of the ‘615 Patent that are known by Plaintiff to infringe the

 Patent based on Plaintiff’s examination of the TFC (both the pre- and post-March 2015

 versions) are Claims 1, 2, 5, 22, 28, 33, and 36-39. Plaintiff alleges on information and

 belief that Claims 3, 4, 6-10, 23-27, 29-32, 34, and 35 are also infringed by the TFC.

            128.   The acts and infringements by Defendant Green Shades as alleged herein

 have caused and will continue to cause Plaintiff Aatrix harm and damages, including but

 not limited to lost sales and profits.

                                          COUNT II

             CONTRIBUTORY INFRINGEMENT OF U.S. PATENT 7,171,615

            129.   Paragraphs 1-128 are incorporated herein by reference.

            130.   Defendant had actual knowledge of Plaintiff’s ‘615 Patent by at least the

 end of September, 2014. Plaintiff’s counsel sent a letter enclosing the ‘615 Patent on or

 about September 25, 2014. Defendant also knew or was willfully blind to the fact that

 its products and services in the form of the TFC and the PTS would be purchased or


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 licensed by others and used as part of systems and processes which infringed the ‘615

 Patent.

            131.   Defendant sold or offered to sell within the United States the components

 of a patented machine, manufacture, combination or composition, or a material or

 apparatus for use in practicing a patented process, constituting a material part of the

 invention, knowing the same to be especially made or especially adapted for use in an

 infringement of such patent, and not a staple article or commodity of commerce suitable

 for substantial noninfringing use, and Defendant is thereby liable for contributory

 infringement of the ‘615 Patent.

            132.   Defendant’s acts of contributory infringement as alleged herein have

 caused and will continue to cause Plaintiff Aatrix harm and damages, including but not

 limited to lost sales and profits.

                                           COUNT III

                   INDUCEMENT TO INFRINGE U.S. PATENT 7,171,615

            133.   Paragraphs 1-132 are incorporated herein by reference.

            134.   Defendant actively induced infringement of the ‘615 Patent and sold or

 held out for license the TFC and PTS products and services with advertising or

 instructions about an infringing use.

            135.   Defendant is liable for inducement to infringe the ‘615 Patent.

            136.   Defendant’s acts inducing infringement have caused and will continue to

 cause Plaintiff Aatrix harm and damages, including but not limited to lost sales and

 profits.
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                                           COUNT IV

                     INFRINGEMENT OF U.S. PATENT 8,984,393

            137.   Plaintiff incorporates herein paragraphs 1-136 hereof by reference.

            138.   On March 17, 2015, United States Letters Patent No. 8,984,393 was duly

 and legally issued to Arthur D. Jensen and Steven H.N. Lunseth for a Method and

 Apparatus for Creating and Filing Forms (the “`393 Patent”). The ‘393 patent was

 assigned to Plaintiff Aatrix as reflected on the face of the patent and in the records of the

 United States Patent and Trademark Office (“USPTO”), and Plaintiff Aatrix has owned

 the ‘393 Patent throughout the period of the defendant’s infringing acts and still owns

 the patent by assignment. A copy of the ‘393 Patent is attached as Exhibit B.

            139.   Defendant Green Shades has infringed and is still infringing the ‘393

 Patent by making, selling, and using methods and apparatuses that embody the patented

 invention, and Defendant Green Shades will continue to do so unless enjoined by this

 court.

            140.   Plaintiff Aatrix has notified Defendant Green Shades of the ‘393 patent,

 and Defendant Green Shades has had actual notice of the ‘393 Patent since at least the

 date of allowance of the Patent.

            141.   Defendant Green Shades makes, uses, sells and offers to sell, and licenses

 two different software products and operates the products and components of the

 products on computers and data processing systems in infringement of the patent, as

 previously alleged herein. They are called the TFC and the PTS. In about March 2015,

 Defendant attempted to create and implemented a redesign of both software products.
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 Defendant loads the software on at least one computer and operates it. Plaintiff has,

 through experts, examined the source code for both the TFC and the PTS, and for the

 redesigned software for both products as well as prior versions of the TFC and PTS.

 The inspection, analysis and review of the software products has been pursuant to a

 process which has been both Confidential by agreement of the parties, and Confidential

 by virtue of this Court’s Protective Order (Dkts. 15-17) previously entered in this case.

 Plaintiff is able to state in detail the structures and methods of Defendant’s products that

 cause the Aatrix Patents to both be infringed, but Plaintiff is barred from setting those

 forth in such detail in this Second Amended Complaint by virtue of the confidentiality

 restrictions. Plaintiff is able to do so within a reasonable period of time after filing of

 this Second Amended Complaint, in such confidential manner as is Ordered by the

 Court..

            142.   Plaintiff alleges that the PTS and TFC products and services of Defendant

 Green Shades directly infringe the ‘393 Patent. Alternatively, Plaintiff alleges that

 Defendant conditions participation in the use of its products and the receipt of the

 benefits upon allowing Defendant’s products to create a data file on a customer’s data

 processing system, or deliver a data file to the customer’s system, or for the customer to

 follow the instructions, directions or suggestions of Defendant for the creation of a data

 file, and to operate on a data file and a form file supplied by Defendant, using a form

 viewer program or programs supplied by the Defendant. Defendant establishes the

 manner or timing of that performance. Defendant Green Shades is liable for its direct


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 infringement of the ‘393 Patent, or alternatively, vicariously liable for infringement by

 virtue of operations it causes or directs or suggests to be conducted on a customer’s data

 processing system to its profit, which it has the ability to stop or prevent.

            143.   Defendant infringes the ‘393 Patent under the Doctrine of Equivalents.

 Among other things, Plaintiff understands Defendant to contend that certain limitations

 of claims the Aatrix Patents, such as the form file limitation, are limited to a single file

 when one skilled in the art would know that the functions can be divided into two or

 more files that are equivalents of a single file.

            144.   On information and belief, Defendant Green Shades has known of the ‘393

 Patent since its date of issue and has knowingly and willfully infringed the ‘393 Patent

 in willful disregard of the patent rights held by Plaintiff Aatrix.

            145.   The claims of the '393 Patent that are known by Plaintiff to infringe the

 Patent based on Plaintiff's examination of the PTS (both the pre- and post-March 2015

 versions) are Claims 1, 2, 7, and 13-17. Plaintiff alleges on information and belief that

 Claims 3-6 and 8-12 are also infringed by the PTS.

            146.   The claims of the '393 Patent that are known by Plaintiff to infringe the

 Patent based on Plaintiff's examination of the TFC (both the pre- and post-March 2015

 versions) are Claims 1, 2, 7, 13-17. Plaintiff alleges on information and belief that

 Claims 3-6 and 8-12 are also infringed by the TFC.




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            147.   The acts and infringements by Defendant Green Shades as alleged herein

 have caused and will continue to cause Plaintiff Aatrix harm and damages, including but

 not limited to lost sales and profits.

                                           COUNT V

             CONTRIBUTORY INFRINGEMENT OF U.S. PATENT 8,984,393

            148.   Paragraphs 1-147 are incorporated herein by reference.

            149.   Defendant had actual knowledge of the allowance of Plaintiff’s ‘393

 Patent by at least February 12, 2015 when its counsel received a letter from Plaintiff’s

 counsel notifying of the allowance of the Patent. Defendant knew of the issuance of the

 ‘393 Patent on or about the issue date of the Patent, and in any event no later than the

 date of service of the Amended Complaint in the present lawsuit. Defendant also knew

 or was willfully blind to the fact that its products and services in the form of the TFC

 and the PTS would be purchased or licensed by others and used as part of systems and

 processes which infringed the ‘393 Patent.

            150.   Defendant sold or offered to sell within the United States the components

 of a patented machine, manufacture, combination or composition, or a material or

 apparatus for use in practicing a patented process, constituting a material part of the

 invention, knowing the same to be especially made or especially adapted for use in an

 infringement of such patent, and not a staple article or commodity of commerce suitable

 for substantial noninfringing use, and Defendant is thereby liable for contributory

 infringement of the ‘393 Patent.


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            151.    Defendant’s acts of contributory infringement as alleged herein have

 caused and will continue to cause Plaintiff Aatrix harm and damages, including but not

 limited to lost sales and profits.

                                            COUNT VI

                   INDUCEMENT TO INFRINGE U.S. PATENT 8,984,393

            152.    Paragraphs 1-151 are incorporated herein by reference.

            153.    Defendant actively induced infringement of the ‘393 Patent and sold or

 held out for license the TFC and PTS products and services with advertising or

 instructions about an infringing use.

            154.    Defendant is liable for inducement to infringe the ‘393 Patent.

            155. Defendant's acts inducing infringement have caused and will continue to

cause Plaintiff Aatrix harm and damages, including but not limited to lost sales and

profits.

        THEREFORE, PLAINTIFF AATRIX REQUESTS:

                   (a)     Judgment that the TFC and PTS softwares infringe, and have

                          infringed Aatrix’s ‘615 Patent and Aatrix’s ‘393 Patent, either

                          directly, by virtue of Defendant’s vicarious liability for the acts of

                          others, and/or under the Doctrine of Equivalents;

                   (b)     Judgment that Defendant has and is liable for contributory

                          infringement or inducement to infringe the ‘615 and ‘393 Patents;




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            (c)    a preliminary and final injunction against the continuing

                   infringement, whether direct, vicarious, contributory or by

                   inducement;

            (d)    an accounting for damages, including but not limited to Aatrix’s

                   lost sales and profits, or in the alternative, a reasonable royalty, and a

                   trebling of damages because of the knowing, willful, and wanton

                   nature of Defendant Greenshade’s conduct;

            (e)    interest and costs;

            (f)    an award of Plaintiff Aatrix’s attorneys’ fees and costs in this

                   action; and

             (g)   such other and further relief as the Court deems just and equitable.




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Dated: April 25, 2016   By     s/John B. Lunseth
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